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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
SGC HEALTH GROUP, INC. §
d/b/a THE HEALTH GROUP, §
Plaintiff,
Vv. : Civil Action No, 3:15-cv-4022-M
ECLINICALWORKS, LLC, :
Defendant. :

MEMORANDUM OPINION AND ORDER

Before the Court is a Motion to Dismiss and to Compel Arbitration [Docket Entry #5] filed
by Defendant eClinicalWorks, LLC (“Defendant”). For the reasons explained below, Defendant’s
Motion is GRANTED.

Background

This case involves a dispute between Plaintiff SGC Health Group, Inc. d/b/a The Health
Group (“Plaintiff”) and Defendant for breach of contract, breach of warranty, fraud, negligent
mistepresentation, and violations of the Texas Deceptive Trade Practices Act.' Defendant
contends that Plaintiff filed its Original Complaint in contravention of the parties’ valid and
enforceable arbitration agreement. Accordingly, Defendant moves to compel Plaintiff to
arbitrate its claims in this lawsuit.

Defendant’s Motion is predicated upon a Master Agreement for The Health Group and

eClinical Works (the “Master Agreement”), executed by the parties on or about June 5, 2013.

 

! This is the second time Plaintiff has attempted to bring its claims in federal court. Plaintiff initially filed its
complaint in March of 2015. See SCG Health Group, Inc. v. eClinicalWorks, LLC, No. 3:15-cv-1139-B (N.D. Tex).
However, Plaintiff was unable to timely perfect service on Defendant, and the earlier case was dismissed without
prejudice.

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Paragraph 7.g of the Master Agreement provides, in pertinent part:

Dispute Resolution. In the event of any dispute, the parties agree

that the first recourse to resolution shall be by arbitration, and that

no action at law shall be taken by either party previous to an

unsuccessful resolution by arbitration.
Def. Mot. App. at 10, § 7(g). Defendant moves to compel arbitration pursuant to the Federal
Arbitration Act (the “FAA”), 9 U.S.C. § 1, et seq., and Paragraph 7.g of the Master Agreement.
Plaintiff failed to file a response to Defendant’s Motion. The Court thus considers the Motion
without the benefit of a response.

Legal Standards
The Court’s determination of whether Plaintiff should be compelled to arbitrate its claims
against Defendant pursuant to the FAA involves a two-step inquiry. Will-Drill Res., Inc. v.
Samson Res. Co., 352 F.3d 211, 214 (Sth Cir. 2003). First, the Court considers whether the
parties agreed to arbitrate the dispute in question. /¢. This inquiry examines (1) whether there is a
valid agreement to arbitrate between the parties and (2) whether the dispute in question falls
within the scope of that agreement. Jd. If the Court finds that the parties agreed to arbitrate their
dispute, it then considers whether any external legal constraints preclude arbitration of Plaintiff's
claims. /d. If there is a valid agreement to arbitrate, and there are no legal constraints that
foreclose arbitration, the Court must order the parties to arbitrate their dispute. Dean Witter
Reynolds, Inc. v, Byrd, 470 U.S. 213, 218 (1985) (The FAA “leaves no place for the exercise of
discretion by a district court, but instead mandates that district courts shall direct the parties to
proceed to arbitration on issues as to which an arbitration agreement has been signed.”)
(emphasis in original) (citing 9 U.S.C. §§ 3-4).
The Court applies ordinary contract principles from the law of the state governing the

agreement to determine whether the parties agreed to arbitrate. Wash. Mut. Fin. Group, LLC vy.

 
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Bailey, 364 F.3d 260, 264 (5th Cir. 2004), Here, paragraph 7.f of the Master Agreement provides
that Massachusetts law applies. Def. Mot. App. at 10,  7(f). For a valid arbitration agreement to
exist under Massachusetts law, the Court must find that: (1) a written agreement exists; (2) the
disputed question falls within the scope of that agreement; and (3) the party seeking arbitration
has not waived its right to arbitration. E/lerbee v. GameStop, Inc., 604 F. Supp. 2d 349, 353 (D.
Mass. 2009) (applying Massachusetts law).

Analysis

Defendant has established that the parties have a valid agreement to arbitrate and the
dispute in question falls within the scope of that agreement. The uncontroverted evidence shows
that representatives for Plaintiff and Defendant executed a written agreement, the Master
Agreement, in June of 2013. Def. Mot. App. at Ex. 1. Paragraph 7.g of the Master Agreement
unequivocally requires the parties to submit “any dispute” to arbitration and prohibits the filing
of any legal action prior to first attempting to resolve the dispute by arbitration. /d. at 10, 4 7(g).
By its Original Complaint, Plaintiff brings claims against Defendant for breach of contract,
breach of warranty, fraud, negligent misrepresentation, and violations of the Texas Deceptive
Trade Practices Act. Paragraph 7.2, which requires arbitration “[i]n the event of any dispute,” is
broad enough to encompass Plaintiff's claims in this lawsuit. Nothing in the record suggests that
Defendant has waived its right to arbitration. Thus, the Court finds that the parties agreed to
arbitrate their dispute.

Further, there is no argument—much less evidence—that any external legal constraints
preclude arbitration of Plaintiffs claims. No law or policy precludes arbitration of Plaintiff's
claims. Indeed, commercial disputes such as the ones at issue in this case are often held to be
subject to mandatory arbitration agreements. See, e.g, Commerce Park v. Mardian Construction

Co., 729 F.2d 334, 338 (5th Cir. 1984) (claim under Texas Deceptive Trade Practices Act subject
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to arbitration under FAA). Plaintiff must therefore be compelled to arbitrate its claims against
Defendant.

Finally, a district court may dismiss, with prejudice, rather than stay, an action where all
the issues are properly subject to arbitration. Alford v, Dean Witter Reynolds, Inc., 975 F.2d
1161, 1164 (Sth Cir. 1992); see also Adam Techs. Int'l S.A. de CV. v. Sutherland Global Servs.,
Ine., 729 F.3d 443, 447 n. 1 (Sth Cir. 2013) (“Although Section 3 of the Federal Arbitration Act
directs district courts to stay pending arbitration, we are bound by our precedent which states that
dismissal is appropriate ‘when all of the issues raised in the district court must be submitted to
arbitration.” (quoting Alford, 975 F.2d at 1164)). All the claims asserted by Plaintiffin this case
fall within the scope of the arbitration provision in the Master Agreement. The only possible role
the Court could have would be to review the arbitration award once the proceedings are
concluded. See Alford, 975 F.2d at 1164. Under these circumstances, the case should be
dismissed with prejudice rather than stayed. /d.; White v. SoftLayer Techn., 2015 WL 5052365,
at *6 (N.D. Tex. Aug. 27, 2015) (Lynn, J.) (holding that dismissal of an action with prejudice is
appropriate and within the court’s discretion when the court determines that ail claims are subject
to arbitration),

Conclusion

For the reasons stated above, Defendant’s Motion [Docket Entry #5] is GRANTED.
Plaintiff's claims are DISMISSED with prejudice. The parties are directed to arbitrate their
dispute pursuant to the Master Agreement.

SO ORDERED.

May 5 2016,

 

    

CHIEF JWDGE

 
